      Case 4:19-cv-00368-WS-HTC Document 34 Filed 03/07/22 Page 1 of 2



                                                                            Page 1 of 2


            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



KENDRICK M. JACKSON,

      Petitioner,

v.                                                        4:19cv368–WS/HTC

SECRETARY, FLORIDA
DEPARTMENT OF CORRECTIONS,

      Respondent.



              ORDER ADOPTING THE MAGISTRATE JUDGE’S
                  REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 30) docketed January 20, 2022. The magistrate judge recommends that

Petitioner’s amended petition for writ of habeas corpus be denied without an

evidentiary hearing. Petitioner has filed objections (ECF No. 33) to the magistrate

judge’s report and recommendation.

      Having reviewed the record in light of Petitioner’s objections, the

undersigned finds no meritorious basis for rejecting the magistrate judge’s report

and recommendation. Accordingly, it is ORDERED:
     Case 4:19-cv-00368-WS-HTC Document 34 Filed 03/07/22 Page 2 of 2



                                                                            Page 2 of 2


      1. The magistrate judge's report and recommendation (ECF No. 30) is

hereby ADOPTED and incorporated by reference into this order.

      2. Petitioner’s amended petition for writ of habeas corpus (ECF No. 6) is

DENIED.

      3. The clerk shall enter judgment stating: "Kendrick M. Jackson’s petition

for writ of habeas corpus is DENIED.”

      4. A certificate of appealability is DENIED.

      DONE AND ORDERED this             7th   day of    March     , 2022.




                               s/ William Stafford
                               WILLIAM STAFFORD
                               SENIOR UNITED STATES DISTRICT JUDGE
